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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

IN RE CATTLE AND BEEF ANTITRUST          Case No. 22-md-03031 (JRT/JFD)
LITIGATION

This Document Relates To:                 FILED UNDER SEAL

The Cattle Actions




     MEMORANDUM OF LAW IN SUPPORT OF CATTLE PLAINTIFFS’
           MOTION FOR CLASS CERTIFICATION
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Term                              Meaning
Cargill                           Cargill, Incorporated and Cargill Meat Solutions
                                  Corporation

Cattle                            In re Cattle Antitrust Litigation, Civil No. 19-cv-
                                  1222 (JRT/HB)

CCMS                              Cafferty Clobes Meriwether & Sprengel LLP

CEA                               Commodity Exchange Act

Class Period                      June 1, 2015 to February 29, 2020

CME                               Chicago Mercantile Exchange

Complaint or Compl.               Third Consolidated Amended              Class    Action
                                  Complaint, Cattle ECF No. 312

Defendants                        Tyson, JBS, Cargill, and National

DX                                Defendant Deposition Exhibit

Ex. ___                           Exhibit to Joint Declaration of Patrick McGahan
                                  and Daniel Herrera

Exchange Class                    All persons or entities who held a long position in
                                  Live Cattle Futures traded on the CME prior to June
                                  1, 2015, and subsequently liquidated the long
                                  position through an offsetting market transaction at
                                  any point prior to November 1, 2016.

                                  Excluded from this Class are the Defendants, their
                                  officers, directors, management, employees,
                                  subsidiaries, affiliates, the attorneys of record in this
                                  matter, and the court, its staff and their family
                                  members.




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    Exchange Class Representatives     Weinreis    Brothers   Partnership    and    Charles
                                       Weinreis

    Injunctive Relief Class            R-CALF; NFU; Weinreis Brothers Partnership;
    Representatives                    Minatare Feedlot Inc.; Charles Weinreis; Eric
                                       Nelson; James Jensen d/b/a Lucky 7 Angus; and
                                       Richard C. Chambers as trustee of the Richard C.
                                       Chambers Living Trust

    JBS                                JBS S.A., JBS USA Food Company, Swift Beef
                                       Company, and JBS Packerland, Inc.

    Joint Declaration or Joint Decl.   Joint Declaration of Patrick McGahan and Daniel
                                       Herrera

    Lamb Ex. __                        Exhibit to September 25, 2024 Expert Report of Dr.
                                       Russell Lamb, Ph.D.

    Lamb Rpt.                          September 25, 2024 Expert Report of Dr. Russell
                                       Lamb, Ph.D.

    LCF                                Live cattle futures contracts traded on the CME

    National                           National Beef Packing Company, LLC

    Plaintiffs                         Ranchers Cattlemen Action Legal Fund United
                                       Stockgrowers of America (“R-CALF”); Farmers
                                       Educational and Cooperative Union of America
                                       (“NFU”); Weinreis Brothers Partnership; Minatare
                                       Feedlot Inc.; Charles Weinreis; Eric Nelson; James
                                       Jensen d/b/a Lucky 7 Angus; Richard C. Chambers
                                       as trustee of the Richard C. Chambers Living Trust

    Producer Class and Injunctive      All persons or entities within the United States that
    Relief Class1                      directly sold to a Defendant one or more fed cattle
                                       for slaughter from June 1, 2015 to February 29,
                                       2020 other than pursuant to a Cost-Plus Agreement
                                       and/or a Profit Sharing Agreement.


1
       The Producer Class seeks certification under Fed. R. Civ. P. 23(b)(3), whereas the
Injunctive Relief Class seeks certification under Fed. R. Civ. P. 23(b)(2).


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                                 Excluded from this Class are the Defendants, their
                                 officers, directors, management, employees,
                                 subsidiaries, affiliates, the attorneys of record in this
                                 matter, and the court, its staff and their family
                                 members.       This exclusion includes, for the
                                 avoidance of doubt, lots of fed cattle harvested by
                                 Defendants: (a) in which Defendants, their
                                 subsidiaries and/or affiliates had a full or partial
                                 ownership interest; and/or (b) was finished at a
                                 feedlot owned by the Defendant, their subsidiaries
                                 and/or affiliates.

                                 “Cost Plus Agreement” means an agreement to
                                 purchase fed cattle at a price determined, in all or in
                                 part, by applying an agreed mark-up to an
                                 accounting of costs incurred by the fed cattle seller
                                 in providing finished fed cattle.

                                 “Profit Sharing Agreement” means an agreement to
                                 supply fed cattle to a Defendant pursuant to which
                                 the Defendant: (i) financed all or part of the costs
                                 incurred by the seller in connection with the seller’s
                                 purchase of unfinished cattle and/or the seller’s
                                 efforts to finish unfinished cattle to slaughter weight
                                 (e.g., feed); and/or (ii) agreed to share certain profits
                                 or losses of either the seller and/or the Defendant in
                                 relation to the cattle to be supplied.

Producer Class Representatives   Weinreis Brothers Partnership; Minatare Feedlot
                                 Inc.; Charles Weinreis; Eric Nelson; James Jensen
                                 d/b/a Lucky 7 Angus; and Richard C. Chambers as
                                 trustee of the Richard C. Chambers Living Trust

Producer or feeder               An individual or entity that sells fed cattle directly
                                 to a packer

PSA                              Packers and Stockyards Act

PX                               Plaintiff Deposition Exhibit

Rosevear Ex. __                  Exhibit to September 25, 2024 Expert Report of
                                 Candice Rosevear



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Rosevear Rpt.                 September 25, 2024 Expert Report of Candice
                              Rosevear

Scott+Scott                   Scott+Scott Attorneys at Law LLP

Tyson                         Tyson Foods, Inc., and Tyson Fresh Meats, Inc.




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I.     INTRODUCTION

       Plaintiffs move to certify three classes to prosecute their claims under the Sherman

Act, the PSA, and the CEA arising from Defendants’ conspiracy to suppress fed cattle

prices, injuring thousands of cattle producers and LCF traders and causing them billions of

dollars in losses.

       Defendants are beef packers who dominate the market for the purchase of fed cattle.2

In 2013–2014, Defendants’ financial performance deteriorated due to steadily increasing

fed cattle prices. The price increases were caused by contractions in the cattle supply

arising from the “cattle cycle”3 and exacerbated by a multiyear drought. These conditions

worsened in the first half of 2015, when the U.S. fed cattle supply reached its lowest levels

since the 1950s. Competition for the dwindling fed cattle supply intensified throughout

2014 and early 2015, leading to higher prices and further deteriorating Defendants’

margins.

       Defendants had a choice: compete harder and smarter, as the antitrust laws

encourage; or conspire, which the antitrust laws forbid. Defendants chose conspiracy over

competition and, from late spring 2015, worked together to suppress cattle purchase and

slaughter volume below available supply by slaughtering no more than their “share” of fed

cattle slaughtered in the United States. In doing so, Defendants “backed-up” producers,




2
       Fed cattle are steers and heifers, whether beef breeds or Holsteins, which are raised
and fed specifically for beef production.
3
      The “cattle cycle” refers to the cyclical expansion and contraction of the beef cattle
herd. Ex. 1, Expert Report of Dr. Russell Lamb, Ph.D. (“Lamb Rpt.”), ¶103.


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causing them to “carryover” their existing cattle inventory and sell their perishable

commodity at whatever price Defendants eventually offered. Defendants’ conspiracy was

an immediate success: fed cattle prices dropped nearly 30% by December 2015.

       Common evidence will show that close relationships and communications among

key decision makers, and the habitual exchange of proprietary production information both

directly and through conduits, facilitated the conspiracy’s formation and its continuing

operation. Common evidence will also show that longstanding anticompetitive practices,

such as the so-called queueing convention, reinforced the conspiracy’s effects by further

limiting competition in the cash market, thereby suppressing the negotiated cash prices on

which all fed cattle prices are premised.

       Using these levers, Defendants suppressed the prices they paid for fed cattle

throughout the Class Period and increased their margins at the expense of Plaintiffs and the

Classes. Dr. Russell Lamb, the Producer Class’s expert, has concluded that the Producer

Class suffered damages of $9.4 billion4 caused by Defendants’ violations of the Sherman

Act and the PSA.5

       But the harm didn’t stop there. Because of the close relationship between fed cattle

and LCF prices, Defendants’ suppression of fed cattle prices also directly caused LCF

prices to be artificially suppressed, damaging anyone holding long positions. Ms. Candice


4
       See Lamb Rpt., Table 25.
5
        As this Court previously held, the Sherman Act violation Plaintiffs allege here is
sufficient to state a PSA violation. See Memorandum and Order at 22–23, Cattle, ECF No.
410 (Sept. 14, 2021) (“MTD Order”). Accordingly, the analysis required to certify
Sherman Act claims is no different than certifying claims under the PSA.


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Rosevear, the Exchange Class’s expert, calculated that this artificiality caused Exchange

Class members to suffer losses of at least $1.07 billion.6

       To redress these substantial, classwide injuries, Plaintiffs seek certification of two

classes under Rule 23(b)(3): (1) a Producer Class, comprised of persons or entities that sold

fed cattle directly to one or more of the Defendants during the Class Period; and (2) an

Exchange Class, comprised of persons or entities that held long positions in LCF prior to

June 1, 2015 and subsequently liquidated those positions prior to November 1, 2016.7

Plaintiffs also seek certification of an Injunctive Relief Class under Rule 23(b)(2).

       As explained more fully below, both the Producer and Exchange Classes satisfy the

requirements of Rule 23(a) and (b)(3) because each class has thousands of members, class

members’ claims arise from the same nucleus of facts, and those claims can be proven

through common evidence. Moreover, the injunctive relief sought by Injunctive Relief

Class members under Rule 23(b)(2) is necessary to prevent and deter future misconduct.

       Proceeding as a class action here furthers the legislative goals of the antitrust laws

and the CEA, which were designed to ensure fair prices reflective of competitive forces

and encourage private enforcement to deter wrongdoers – like the Defendants here – from

distorting free markets to enrich themselves. See Reiter v. Sonotone Corp., 442 U.S. 330,

342 (1979); Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Curran, 456 U.S. 353, 401 n.9

(1982).


6
       See Ex. 2, Expert Report of Candice Rosevear (“Rosevear Rpt.”), Figs. 7–8 and ¶69.
7
     October 31, 2016 is the expiration date of the farthest-dated LCF tradeable as of
May 29, 2015. Rosevear Rpt., Fig. 7.


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       Accordingly, the Court should: (1) certify the Producer, Exchange, and Injunctive

Relief Classes; (2) appoint the Producer, Exchange, and Injunctive Relief Class

Representatives as representatives for their respective Classes; (3) appoint Scott+Scott and

CCMS as Co-Lead Class Counsel for each Class; and (4) appoint Robins Kaplan LLP as

Liaison Counsel and Kirby McInerney LLP, Pritzker Levine LLP, and Pearson Warshaw

LLP to the Plaintiffs’ Executive Committee.

II.    FACTUAL BACKGROUND

       A.     The Fed Cattle Market Was Ripe for Collusion

              1.       Fed Cattle Is a Distinct Product Market, and Defendants
                       Dominate It

       Fed cattle are a perishable commodity product,8 with
                           9
                               Fed cattle have no economic substitutes: culled beef and dairy

cows and bulls are a




8
      Ex. 3 (Deposition of John Gerber, former Tyson VP of Cattle Procurement) at
75:11–76:4
           .
9
       Ex. 5 (Deposition of Michael Zerr, Cargill’s Head of Protein Analytics Team from
2017 to 2023 and Long-Term Model Lead from 2015 to the present) at 133:1–2. See also
Ex. 6 (Deposition of Nate Birkhofer, Assistant VP of Financial Planning and Analysis,
Supply Chain from 2016 to 2019) at 173:23–174:9; Ex. 7 (Deposition of Charles Weinreis,
Partner, Weinreis Brothers Partnership and President, Minatare Feedlot, Inc.) at 247:12–
248:15; Ex. 8 (Deposition of Brian Alsup, Tyson Cattle Buyer)at 293:20–294:21.


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                                       10
                                            Fed cattle are also fungible: Defendants
                11
                     and principally compete for those cattle on price.12

       Defendants collectively control over 80% of domestic fed cattle meatpacking

capacity.13 Thus, Defendants (and the market) refer to themselves as the “major” packers14

and recognize that regional packers do not constrain their operations.15 But because

Defendants are not vertically integrated, they must purchase fed cattle from producers,

including Plaintiffs and Producer Class members. Consequently, the supply and cost of

fed cattle drive Defendants’ profitability.16




10
       Ex. 9 (Deposition of Al Byers, JBS President of Regional Beef from 2014 to 2020)
at 210:15–22. See also Lamb Rpt., ¶¶160-165.
11
       Ex. 9 at 30:11–31:3.
12
       Ex. 7 at 93:5–9
        ; Lamb Rpt., ¶¶220–21.
13
       Lamb Rpt., ¶¶191–92, Table 10.
14
       Ex. 10 (Deposition of Steven Williams, JBS Head of Cattle Procurement) at 294:14–
20; Ex. 11 (Deposition of John Keating, Former Cargill President of Operations and Supply
Chain, Protein, North America) at 475:12–18; Lamb Rpt., ¶197.
15
      Ex. 12                                                      ; Ex. 13 at NationalBeef-
00597432
                        .
16
       Ex. 14 (Deposition of Kevin Hueser, former SVP of Margin Management at Tyson)
at 58:15–59:5; 61:13–64:19; 69:3–6; 267:17–268:1 and Ex.15
                  ; Ex. 16 (Deposition of Fred Nichols, JBS Cattle Buyer) at 65:1–10.


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               2.      The Fed Cattle Supply Is Highly Inelastic

        It takes approximately three-and-one-half years for fed cattle to reach slaughter

weight from the time a rancher decides to retain a heifer for breeding (as opposed to feeding

it for slaughter).17

Figure 1: Lamb Rpt., Figure 3: Biological Lags in Beef Production




        Supplies thus are inelastic in the short-run, and



                                                            18




17
        Ex. 17 at Slide 5. Ex. 18 at TYSONBEEF03291541. See also, Ex. 16 at 48:18 –
53:3.
18
        Ex. 5 at 265:4–7.


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       Producers’ inability to reduce the cattle supply in the short run amplifies

Defendants’ market power. Once cattle reach slaughter weight, producers are left with a

Hobson’s choice: sell the cattle to the highest bidder no matter the price; continue to feed

them uneconomically; or allow the cattle to perish.19 Conversely, by reducing their

collective demand by                                                 Defendants can cause
                                                                20
cattle prices to fall

               3.       Defendants’ Set Their Production Plans to Only Kill Their
                        “Natural” or “Capacity Share”




19
       Ex. 7 at 248:17–249:1
                                                             ; id. at 247:8–128:16; Ex. 5 at
52:22–53:4; Lamb Rpt., ¶¶50–52.
20
       Ex. 19.
21
       Ex. 20 (Deposition of Bob Manning, National Beef VP of Scheduling from 2017 to
Present) at 52:11–53:21; Ex. 19 at 61:6–15; Ex. 6 at 367:14–368:22; Ex. 21 (Deposition of
Dan Brooks, Tyson General Manager of Beef Division from 2015 to 2022) at 31:16–33:18;
Ex. 10 at 60:13–23; Ex. 11 at 37:5–9.
22




23
       Ex. 16 at 39:5–41:2; Ex. 22 (Deposition of Timothy Klein, National Beef CEO from
2009 to present) at 35:16–25; Ex. 23
                                                                                       ;



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             4.        All Cattle Prices, Regardless of Procurement Type, Are Tied
                       Directly to Prices Paid in the Cash Market




                                                              28




Ex. 11 at 56:16–57:11; Ex. 10 at 225:8–14, 232:4–6
                                 .
24
      Ex. 24 and Ex. 11 at 174:18–176:6
                         .
25
      See, e.g., Ex. 25
                       ; Ex. 24; Ex. 26 (Deposition of Jarrod Gillig, Cargill General
Manager of Plainview, TX plant from 2012 to 2013; General Manager of Schuyler, NE
plant from 2013 to 2017; VP Protein BOSC Operation from 2017 to Present) at 152:13–
159:15)                                                                     ; Ex. 22 at
326:6–16; Ex. 27 (JBS tracks and benchmarks its “Native Cattle Market Share”).
26
      Lamb Rpt., ¶¶73-74, 144, Fig. 21.
27
      Id.; Ex. 3 at 66:13–67:12; 195:19–24
                                      ; Ex. 14 at 62:4–64:14, 68:16–69:2; Ex. 11 at
84:11–85:16; Ex. 16 at 161:13–23; Lamb Rpt., ¶¶73-74.
28
      Ex. 3 at 275:19–276:25                                                 .


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            ,29 these transactions have an outsized economic impact because cash trade prices

set the prices for all fed cattle sold to Defendants by the Producer Class. This is because

the prices of cattle delivered on formula, forward, and negotiated grid contracts all are tied

to cash prices reported by the USDA or other sources.30 Defendants thus needed only to

suppress cash cattle prices to reduce the prices paid to the Producer Class, regardless of the

contracting mechanism.31

       B.      Challenging Economic Conditions Incentivized Defendants to Collude

               1.     Historically Low Cattle Supplies Compressed Defendants’
                      Margins

       Due to historic declines in the fed cattle supply,
                      32
                           Historically low supplies were a function of the herd contraction

typical of the end of the cattle cycle, which a multiyear drought exacerbated by constraining

producers’ abilities to retain heifers for breeding.33 Due to these factors and the above-




29
       Lamb Rpt.,Fig. 21.
30
       Id., ¶¶235-236; see also Lamb Rpt., §VI.A.2
31
       Ex. 14 at 69:7–23; 72:15–16
                                                                        . See also Ex.
3 at 43:11–44:13; 44:25–45:16; and 92:22–93:10; Ex. 11 at 85:11–86:3; Ex. 16 at 72:17–
74:2; Ex. 28 (Deposition of William Thoni, Cargill VP of Cattle Procurement, 2011 to
2019) at 23:13–24:2; 25:17–26:4.
32
       Ex. 29. See also Ex. 30.
33
       Lamb Rpt., ¶¶106–10.


                                               9
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referenced biological production lags,
                                                                   34



       The resulting tight supplies threatened Defendants’ margins.



                                                   35
                                                        These costs incentivize Defendants

to compete for cattle because “the more cattle we run, it lowers our fixed operating costs

per head.”36

       Defendants tried to relieve the pressure by closing plants.       Cargill idled its

Plainview, Texas plant in 2013 and closed its Milwaukee, Wisconsin plant in August 2014

                                                                                       .37

National followed suit in June 2014, closing its Brawley, California plant

       .38




34
       Ex. 31. See also Ex. 32 at7

     ; Ex. 11 at 60:15–61:1; Ex. 33 (Deposition of Bill Rupp, JBS President of Fed Beef,
2014 to 2106) at 182:21–183:3; Ex. 34 at CARGILL00194874950; Lamb Rpt., ¶¶111, 298.
35
       Ex. 35 at CARGILL001245466 (2011 Congressional testimony of Kenneth Bull,
Cargill’s former head of cattle procurement).
36
       Ex. 22 at 31:13–14.
37
       Exs. 36 and 37; Ex. 38



       .
38
           Ex. 39; Ex. 40; Ex. 41
                  ; Ex. 11 at 191:13–23
                  .

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      Fed cattle prices nevertheless increased steadily through 2014 due to
                                       39


             40



      Cattle prices were projected to remain high throughout 2015 before declining

gradually once supplies began to expand in 2016.41
                                            42


                                                                         43



             2.     Defendants Recognize that Collective Kill Cuts Were Required to
                    Keep Demand Below Available Supplies and Suppress Prices

      Beef packing is a
                                                                                      44



                                 .45




39
      See, e.g., Ex. 42                                                    ; Ex. 43
(Deposition of Dennis McDougall, National Beef Cattle Procurement, 2011 to 2020) at
75:4–15                                                      ; Ex. 44
                                            ; Ex. 45
                            .
40
      Ex. 5 at 133:23–134:1.
41
      Lamb Rpt., ¶330; see also Ex. 31 at NationalBeef-00002782.
42
      Ex. 33 at 182:21–183:3


         .
43
      Ex. 46; Ex. 47 and Ex. 3 at 100:14–102:17; 113:3–115:9.
44
      Ex. 14 at 58:15–24. See also Ex. 22 at 30:2–12; Ex. 11 at 289:6–3; Ex. 5 at 293:4–
294:14.
45
      Ex. 5 at 114:5–10.


                                                 11
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                                                                              .47

      Kill cuts impact cattle prices by: (1) reducing demand for fed cattle, particularly

cash cattle, thereby (2) “backing up” feeders, and (3) forcing them to continue incurring

feeding costs until they can be sold in subsequent weeks.48 Once cattle reach slaughter

weight and become marketable, producers have a
                                            49
                                                 W



          50


                51




46
      Ex. 14 at 69:3–6
                               .
47
      Ex. 11 at 72:1–18; 75:18–76:10; Ex. 3 at 120:9–23.
48
      Ex. 48; Ex. 5 at 226:20–24                                  ; Ex. 14 at 68:11–14

                                                     .
49
       Ex. 49 (Deposition of James Jensen d/b/a Lucky 7 Angus) at 191:6–192:13. See
also Ex. 5 at 52:22–53:4.
50
      Ex. 50.
51
      Ex. 10 at 298:3–13

                                     ; Ex. 51; Ex. 3 at 66:18–6768:3

                           ; id. at 225:12–17; Ex. 52 (Deposition of Bradley Brandenburg,
Tyson Director of Cattle Procurement, 2016 to 2015) at 138:21–139:8.


                                           12
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                    52
                                                        .53



                                 54


                                      55




            ,56

           .57
           58




52
       Ex. 53; see also Ex. 54
                                                                                    .
53
       Lamb Rpt., ¶235

                                                                                   . See
also id., §VI.A2.
54
       Ex. 52 at 139:24–140:2.
55
       Ex. 55
                                            .
56
       Ex. 56
     ; Ex. 10 at 133:5–12
                                                      ; Ex. 57,
                                                ; Ex. 3 at 260:1–10
                                                                      ; Ex. 58; Ex. 59.
57




58




                                           13
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     C.     Defendants Agreed to Suppress Slaughter Levels Below Available
            Slaughter-Ready Cattle Supplies

            1.     Defendants’ 2014 Attempt to Coordinate Cuts Fails




59
     Ex. 60 and Ex. 14 at 78:7–84:7
                                                                 .
60
     Ex. 3 at 117:3–118:14.
61
     Ex. 5 at 241:8–23

                       ; Ex. 62 at slide 9; Ex. 22 at 31:7–20.
62
     Ex. 3 at 116:1–25.
63
     Ex. 63 at 4

          ; and Ex. 11 at 216:21–220:23.
64
     Ex. 64; Ex. 22 at 121:03–122:13.


                                           14
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65
       Ex. 65, and Ex. 66 (Monte E. Lowe - Text Message Record).
66
       See Ex. 67; Ex. 68

                        ; Ex. 22 at 140:03–141:15
                .
67
       Ex. 69
                    .
68
       Ex. 70 at CARGILL0000185443; Ex. 11 at 28:25–229:22; 234:21–235:2; Ex. 71.
69
       Ex. 72. See also n.39.
70
      Ex. 73. Unless otherwise stated, all cattle prices are stated on a dollar per cwt, live
weight basis.
71
       Ex. 74. See also Ex. 75

                                                        .
72
       Ex. 3 at 88:13–89:5.


                                             15
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                    74




73




74
     Ex. 79 at slide 8.


                                   16
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Figure 2: 5-Area Region Weighted Average Cash Transactions: 201475




                2.    Defendants Conspire to “Break” Cattle Prices

       For the first five months of 2015, cattle prices traded between $159–$169, just

below the record set in November 2014 – $170.76




75
       “Steer Cash Price” is the weighted average price for live FOB steers that are greater
than 80% choice from LM_CT150.
76
       Ex. 73 at 2.
77
       Ex. 80
                                           .
78
       Ex. 81.


                                               17
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79
     See Compl., ¶¶9–27, 116–146.
80
     Exs. 82-83.
81




82



83



84




                                    18
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                :




85
     Ex. 92; Ex. 93


            Ex. 3 at 150:1–153:6.
86
     Ex. 94; Ex. 14 at 115:3–116:12.


                                       19
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87




                                   20
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93




                                   21
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98
      Ex. 130 and Ex. 10 at 317:4–318:20. See also Ex. 12

                                    .
99
      Id.
100
      Ex. 131.
101
      Ex. 132.
102
      Ex. 133; Ex. 134.
103
      Ex. 3 at 225:18–21.
104
      Ex. 135 (confirming Defendants all discounting overweight cattle); Ex. 136.


                                          22
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105
      Ex. 137.
106
      Ex. 138; Ex. 139.
107
      Ex. 139; Ex. 140
                                .
108
      Ex. 141
          ; Ex. 143 (Deposition of Randy Carlgren, Cargill Director of Financial Planning
and Analysis, 2016 to present) at 123:7–126:14.
109
      Ex. 144; Ex. 145.
110
      Ex. 14 at 251:21–255:3 (
                                      ; Ex. 16 at 227:5–231:25
                                                                       .
111
      Ex. 3. at 228:11–229:7.


                                           23
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Figure 3: 5-Area Region Weighted Average Cash Transactions: 2015112




       D.     Common Evidence Demonstrates that Defendants Used a Variety of
              Devices in Furtherance of the Conspiracy

              1.     Defendants Carried Out Their Agreement by Exchanging
                     Information Directly and Through Conduits




112
       “Steer Cash Price” is the weighted average price for live FOB steers that are greater
than 80% choice from LM_CT150.
113
       See, e.g., Ex. 146
                                                   ); Ex. 147



                                            24
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                                        ;


114
      See, e.g., Ex. 151 (April 2015); Ex. 152 (July 2017); Ex. 153 (February 2018); Ex.
154 (April 2018); Ex. 155 (April 2019).
115




117
      Ex. 161.
118
      Ex. 33at 135:3–18


                                            25
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119
      Ex. 162.
120
      Ex. 163.
121
      Ex. 163; Ex. 164; Ex.165; Ex. 166; Ex. 14 at 106:1–109:1.
122
      Cf. Ex. 167 to Ex. 168; Ex. 14 at 126:18–127:8
123
      Ex. 94; Ex. 14 at 115:3–116:12. See also supra note 88.
124
      Ex. 169 and Ex. 61 at 47:16–48:3; Ex. 43 at 241:7–242:18; Ex. 3 at 150:1–151:9.
125
      Ex. 170.
126
      Ex. 3 at 347:7–21; see also id. at 319:5–18 and Ex. 171.
127
      Ex. 21 at 122:2–9. See also Ex. 94.
128
      Ex. 172; Lamb Rpt., ¶¶260–64.
129
      Ex. 10 at 359:23–360:11; Exs. 173 and 174.


                                            26
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     2.    Procurement Practices in the Cash Market Reinforced
           Defendants’ Agreement




                               27
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             3.     Defendants Monitored Competitors’ Adherence to the
                    Conspiracy and Punished Defections




141
      Ex. 14 at 87:18–89:14; Ex. 190, Ex. 191, and Ex. 3 at 167:23–173:18; Ex. 192; Ex.
193; Ex. 194.
142
      See, e.g., Ex. 195; Ex. 196; and Ex. 197.
143
      Ex. 10 at 292:22–293:6; Ex. 199; Ex. 198; and Ex. 200.


                                           28
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       E.     Plaintiffs’ Experts Show that Common Evidence Is Capable of
              Demonstrating that All or Virtually All Class Members Were Injured

       Plaintiffs retained two preeminent economists – Dr. Russell Lamb and Ms. Candice

Rosevear – to analyze whether common evidence is capable of showing that Defendants’

conspiracy caused classwide injury and damages to the Producer and Exchange Classes.

Both found common evidence exists.

       Dr. Lamb. Dr. Lamb is a highly credentialed economist, who has testified in

numerous antitrust matters. Lamb Rpt., ¶¶1-5. Dr. Lamb analyzed the effects of the

alleged conspiracy. Specifically, he constructed a well-specified multiple regression

analysis146 that estimated the price effect of the conspiracy, while controlling for other

supply and demand factors that could affect fed cattle prices. He also conducted empirical

correlation analyses of fed cattle prices across, among other things, feedyards, plants, and



144
       Ex. 188; Ex. 187 at 178:24–180:12; Ex. 8 at 144:21–149:8; Ex. 201, PX670; Ex.
202.
145
       See, e.g., Ex. 203


                                                                                        ; Ex.
206; Ex. 207; Ex. 208.
146
        “Multiple-regression analysis is a statistical tool used to determine the relationship
between an unknown variable (the ‘dependent’ variable) and one or more ‘independent’
variables that are thought to impact the dependent variable.” In re Urethane Antitrust
Litig., 768 F.3d 1245, 1260 (10th Cir. 2014).


                                             29
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procurement types to show a direct linkage across all price metrics. Finally, he conducted

an in-sample prediction147 to further demonstrate the widespread effect of the conspiracy.

Id., ¶15(c).

       In sum, Dr. Lamb concludes that the Producer Class suffered aggregate damages of

nearly $9.4 billion. Lamb Rpt., Table 25.

       Ms. Rosevear. Ms. Rosevear analyzed the impact that the suppression of physical

cattle prices found by Dr. Lamb had on LCF prices. Using standard, well-accepted

methods, Ms. Rosevear found that there was a strong correlation between fed cattle prices

and LCF prices. Rosevear Rpt., ¶¶39–40, Figs. 2–3.

       Because of this strong correlation, Ms. Rosevear used a standard peer-reviewed cost

of carry model to determine the but-for futures price for each LCF using Dr. Lamb’s fed

cattle suppression results. The difference between the but-for futures prices and the actual

futures prices is the “artificiality” Defendants caused on each “long” LCF. In total, this

artificiality caused at least $1.07 billion in losses on Exchange Class members’ long LCF

positions as defined in Ms. Rosevear’s report. Id., Figs. 7–8.

III.   ARGUMENT

       “It is the Court’s duty to conduct a rigorous analysis before certifying a class, which

necessarily requires that the Court consider some issues that bear on the merits … .” In re




147
       An in-sample prediction is “a standard technique used to test whether the impact of
an antitrust conspiracy is widespread.” In re Broiler Chicken Grower Antitrust Litigation
(No. II) (“Growers”), No. 6:20-md-02977, 2024 WL 2117359, at *12 (E.D. Okla. May 8,
2024). See also Lamb Rpt., ¶409.


                                             30
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Pork Antitrust Litig., 665 F. Supp. 3d 967, 995 (D. Minn. 2023).148 “But courts considering

class certification are not expected to resolve questions regarding the merits at this time.”

Id. Rather, “Class Plaintiffs must provide evidentiary proof of each of Rule 23’s elements.”

Id. As shown below, Plaintiffs have done so here.

       A.      The Producer and Exchange Classes Satisfy Rule 23(a)

               1.    Each Class Satisfies Numerosity (Rule 23(a)(1))

       There are thousands of members in each Class, geographically disbursed throughout

the country. See Ex. 14 at 315:9–22                                                      ; Ex.

3 at 413:3–8                                                           ; Lamb Rpt., Fig. 6

(showing geographic dispersion of cattle on feed); Rosevear Rpt., Figs. 7–8 (calculating

damages for over 3,500 account holders in CME data). Numerosity is therefore satisfied.

See Ark. Ed. Ass’n v. Bd. of Ed. of Portland, Ark. Sch. Dist., 446 F.2d 763, 765–66 (8th

Cir. 1971) (17–20-member class satisfied numerosity).

               2.    Questions of Law and Fact Are Common to the Classes (Rule
                     23(a)(2))

       “To establish commonality under Rule 23(a)(2), class claims ‘must depend on a

common contention’ that is ‘capable of classwide resolution—which means that

determination of its truth or falsity will resolve an issue that is central to the validity of

each one of the claims in one stroke.’” Pork, 665 F. Supp. 3d at 995. “Minnesota courts

have previously found that allegations of a nationwide horizontal price-fixing conspiracy




148
       Unless otherwise indicated, citations are omitted and emphasis is added.


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in violation of Section 1 of the Sherman Act primarily involves common issues of fact and

law.” Id. at 996.

       Common questions of law and fact abound, including, but not limited to:

            The participants in the alleged conspiracy;

            Start date and duration of conspiracy;

            Whether the conspiracy caused injury to the Producer Class;

            Whether the conspiracy caused LCF prices to be artificial; and

            The appropriate measure of damages to each Class arising from Defendants’

              conspiracy.

       Accordingly, commonality is satisfied. See Pork, 665 F. Supp. 3d at 996 (common

questions included the existence of a price-fixing conspiracy); Ploss v. Kraft Foods Group,

Inc., 431 F. Supp. 3d 1003, 1014 (N.D. Ill. 2020) (common questions were “(1) whether

Kraft engaged in the alleged long wheat futures scheme; and (2) whether that scheme

inflated futures prices in the marketplace”).

              3.      Plaintiffs’ Claims Are Typical (Rule 23(a)(3))

       “Similar to commonality, ‘typicality exists where … all class members are at risk

of being subjected to the same harmful practices, regardless of any class member’s

individual circumstances.’” Growers, 2024 WL 2117359, at *9 (ellipsis in original). “ʻThe

burden of demonstrating typicality is fairly easily met so long as other class members have

claims similar to the named plaintiff[s].’” Pork, 665 F. Supp. 3d at 998. Typicality is

readily satisfied here.




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       The Producer Class satisfies typicality because the “ʻ[Producer] plaintiffs and all

[Producer] class members alleg[e] the same antitrust violations by defendants.’” In re

Rubber Chems. Antitrust Litig., 232 F.R.D. 346, 351 (N.D. Cal. 2005). Likewise, the

Exchange Class satisfies typicality because the “Proposed Representatives and the absent

class members transacted in the same contracts, in the same centralized marketplace, were

allegedly negatively impacted by the same common course of manipulative conduct for

which the same group of defendants is alleged to be legally responsible for the damages.”

In re Amaranth Nat. Gas Commodities Litig., 269 F.R.D. 366, 379 (S.D.N.Y. 2010).

              4.     Plaintiffs and Their Counsel Will Adequately Represent the
                     Interests of the Classes (Rule 23(a)(4))

       “To demonstrate adequacy of representation, a plaintiff must show that ‘(1) the

representative and its attorneys are able and willing to prosecute the action competently

and vigorously; and (2) the representative’s interests are sufficiently similar to those of the

class that it is unlikely that their goals and viewpoints will diverge.’” Pork, 665 F. Supp.

3d at 998. “ʻ[T]he adequacy-of-representation requirement is satisfied as long as one of

the class representatives is an adequate class representative.’” Rodriguez v. West Publ’g

Corp., 563 F.3d 948, 961 (9th Cir. 2009).

       Adequacy is met here because it is “clear that the interests of the named

representatives are not antagonistic to those” of their respective Classes, and each will

continue to vigorously represent their Class’s interests as they have for over five years. In

re Monosodium Glutamate Antitrust Litig., 205 F.R.D. 229, 233 (D. Minn. 2001), accord

Pork, 665 F. Supp. 3d at 999. Each Producer Class representative sold cattle to a Defendant



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during the Class Period, and each seeks to redress the injury they suffered from Defendants’

conspiracy.    See generally Exs. 218-21 (Chambers, Jensen, Nelson, and Weinreis

Declarations). Likewise, each Exchange Class representative held a long LCF position and

closed that position prior to the end of the Class Period. Ex. 220, Weinreis Decl., ¶¶12-14.

       Counsel for the Classes are also experienced at litigating antitrust and CEA claims

and have the resources and commitment to litigate this matter through to conclusion. See

also Joint Decl., ¶¶15-18, Exs. 212-13 (firm resumes). The Court previously appointed

Scott+Scott and CCMS as Interim Co-Lead Class Counsel. Cattle ECF No. 88.

       Scott+Scott and CCMS have vigorously and effectively prosecuted this lawsuit to

date and will continue to diligently represent the Classes through trials and appeals. Joint

Decl.,¶¶10-14. Their efforts have been supported by the diligent efforts of Interim Liaison

Counsel and the Executive Committee firms, each of which is likewise experienced in

litigating antitrust and other complex class actions. Id., ¶5, Exs. 214-17 (firm resumes).

       Accordingly, the Court should appoint Scott+Scott and CCMS as Co-Lead Counsel

for the Producer and Exchange Classes; Robins Kaplan as Liaison Counsel; and Kirby

McInerney, Pritzker Levine, and Pearson Warshaw as the Executive Committee. Finally,

each named Plaintiff supports these firms’ appointments. Joint Decl., ¶¶19-20 (citing

Plaintiff declarations).




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       B.     The Producer        and    Exchange      Classes    Satisfy   Rule    23(b)(3)
              Predominance

       Predominance requires a demonstration that “questions of law or fact common to

class members predominate over any questions affecting only individual members.” Fed.

R. Civ. P. 23(b)(3). Both Classes meet this requirement.

              1.     Common Issues of Law and Fact Predominate Over Individual
                     Issues on both the Antitrust and CEA Claims

       “At the core of Rule 23(b)(3)’s predominance requirement is the issue of whether

the defendant’s liability to all plaintiffs may be established with common evidence.” Avritt

v. Reliastar Life Ins. Co., 615 F.3d 1023, 1029 (8th Cir. 2010). Common questions still

predominate even when some individualized questions may need to be tried separately.

See Tyson Foods v. Bouaphakeo, 577 U.S. 442, 453 (2016).

       “Analysis of [predominance] may overlap with the merits of the case, but a court

should not resolve the merits at this stage. Rather, ‘Rule 23 (b)(3) requires a showing that

questions common to the class predominate, not that those questions will be answered, on

the merits, in favor of the class.’” Pork, 665 F. Supp. 3d at 1001 (emphasis in original).

Put another way, “[t]he question at class certification is … whether questions of law or fact

capable of resolution through common evidence predominate over individual questions.”

Zurn Pex Plumbing Prods. Liab. Litig., 644 F.3d 604, 619 (8th Cir. 2011).

       To prove a Sherman Act §1 claim, a plaintiff must show “(1) that Defendants

conspired to violate federal antitrust laws, (2) that class members suffered injury because

of the violation (‘impact’), and (3) plaintiffs can measure the damages.” Pork, 665 F. Supp.

3d at 1001. To prove a CEA manipulation claim, a plaintiff must show that “(1) the


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defendants possessed the ability to influence prices; (2) an artificial price existed; (3) the

defendant caused the artificial price; and (4) the defendant specifically intended to cause

the artificial price.” MTD Order at 23 (quoting Anderson v. Dairy Farmers of Am., Inc.,

No. 08-4726, 2010 WL 1286181, at *5 (D. Minn. Mar. 29, 2010)).

       The elements of Plaintiffs’ antitrust and CEA claims are “capable of resolution”

through common evidence.

                     a.     Common Evidence Is Capable of Proving Defendants’
                            Conspiracy

       Defendants’ conspiracy violates both the Sherman Act and CEA. For both claims,

the focus is on Defendants’ conduct – the existence and scope of the conspiracy and

scheme. In antitrust cases, “Evidence that appellees entered into a conspiracy that would

affect all class members would perforce be evidence common to all class members for

proving the conspiracy.” Blades v. Monsanto, 400 F.3d 562, 572 (8th Cir. 2005), accord

Pork, 665 F. Supp. 3d at 1002. “[D]efendants seeking to defeat class certification in a case

alleging a horizontal price-fixing conspiracy ‘face an uphill battle’ … because, depending

on the circumstances, ‘the existence of a conspiracy [is] the overriding issue even when the

market involves diversity in products, marketing, and prices.’” Growers, 2024 WL

2117359, at *12 (brackets in original).

       So too for CEA price manipulation cases, where proof of Defendants’ scheme to

suppress commodity prices, as alleged here, requires the use of common evidence of the

Defendants’ actions. Ploss, 431 F. Supp. 3d at 1014 (“common questions do predominate




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over individual questions in cases alleging price manipulation under the Commodity

Exchange Act”).149

       And because Plaintiffs’ antitrust and CEA claims both focus on the Defendants’

conduct, predominance in both types of cases is usually satisfied. See Amchem Prods., Inc.

v. Windsor, 521 U.S. 591, 623, 625 (1997) (“[p]redominance is a test readily met in certain

cases alleging . . . violations of the antitrust laws.”); Messner v. Northshore University

HealthSystem, 669 F.3d 802, 816 (7th Cir. 2012) (showing predominance in commodities

cases, which involve “market[s] for a generic, undifferentiated commodity (i.e., corn,

wheat, or pork bellies) traded on an exchange with standard contract terms” is “relatively

simple”).

       As in other cases, Defendants’ conduct – as evidenced by Defendants’ documents,

deposition testimony, and economic analysis relating to the nature and the structure of the

industry – can and will be used to demonstrate the existence of Defendants’ price-

suppression conspiracy for fed cattle. See Growers, 2024 WL 2117359, at *16; Ploss, 431

F. Supp. 3d at 1015. This evidence – common to all Producer and Exchange Class

members – shows that Defendants coordinated their harvest schedules to suppress fed cattle

and LCF prices.

       Accordingly, the existence of Defendants’ conspiracy, and the proof required to

show its existence, is common to all Producer and Exchange Class members.




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       This is true for each of Plaintiffs’ CEA claims for manipulation, manipulative
device, aiding and abetting, and principal-agent liability. Compl., Counts 3–6.


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                     b.        Common Evidence Is Capable of Proving Classwide Injury

       “Impact” refers to the injury caused by the alleged antitrust violation – here, the

underpayments the Producer Class suffered. Blades, 400 F.3d at 569. Evidence tending

to establish that “Defendants and their co-conspirators unlawfully suppressed [prices for

all relevant producers] during the relevant time period … is sufficient to satisfy one

requisite prong of antitrust injury for class certification purposes.” Allen v. Dairy Farmers

of Am., Inc., No. 5:09-CV-230, 2012 WL 5844871, at *12 (D. Vt. Nov. 19, 2012).150

Proving injury in a Section 1 case will generally consist of “some showing that the plaintiff,

as a result of this conspiracy, ‘had to pay supracompetitive prices.’” Pork, 665 F. Supp.

3d at 1002. “And to establish such impact, plaintiffs typically provide experts who

‘construct a hypothetical market, a but-for market, free of the restraints and conduct alleged

to be anticompetitive.’” Id.

       Importantly, “ʻ[p]aying an overcharge caused by the alleged anticompetitive

conduct on a single purchase suffices to show—as a legal and factual matter—impact or

fact of damage.’” In re Nexium Antitrust Litig., 777 F.3d 9, 27 (1st Cir. 2015). This rule

applies equally to an antitrust victim who receives an underpayment on its sales to antitrust

defendants because buyers’ cartels (as alleged here) are mirror images of seller cartels –

and both are forbidden. See Mandeville Island Farms, Inc. v. Am. Crystal Sugar Co., 334

U.S. 219, 235 (1948).


150
       The second prong is whether “such an injury is ‘of the type the antitrust laws were
intended to prevent and that flows from that which makes defendants’ acts unlawful’” – a
“legal question,” common to each Producer Class member. Id., at *12 (quoting Brunswick
Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)).


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          Nor does variability in the prices paid or individualized price negotiations defeat the

existence of common impact. “[E]ven if there is considerable individual variety in pricing

because of individual price negotiations, class plaintiffs may succeed in proving classwide

impact by showing that the minimum baseline for beginning negotiations, or the range of

prices which resulted from negotiation, was artificially raised (or slowed in its descent) by

the collusive actions of the defendants.” In re Disposable Contact Lens Antitrust Litig.,

329 F.R.D. 336, 386 (M.D. Fla. 2018) (brackets in original). In fact, “ʻunder the prevailing

view,’” antitrust conspiracies such as price-fixing conspiracies “‘affect all market

participants, creating an inference of class-wide impact even when prices are individually

negotiated.’” Growers, 2024 WL 2117359, at *30.

          But an inference of injury is not necessary here because Dr. Lamb conducts a multi-

faceted analysis using evidence common to the Producer Class to demonstrate classwide

injury.

          First, Dr. Lamb uses a multiple regression analysis to estimate the effect of the

challenged conduct on the prices paid to the Producer Class. To construct his model, Dr.

Lamb reviewed and relied on materials produced by Defendants and third parties,

including: (1) voluminous structured data reflecting nearly two million useable fed cattle

observations; (2) contracts between Defendants and feedyards; (3) documents from

Defendants’ employees; and (4) reports and data series from federal agencies. Dr. Lamb

also reviewed the deposition testimony of dozens of witnesses, as well as economic and

academic literature to support his modeling choices. Lamb Rpt., ¶¶340–71; see generally

id., App’x B.


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         Dr. Lamb’s multiple regression analysis used numerous variables that could explain

changes in prices for fed cattle (i.e., the dependent variable). These “independent”

variables included:

       Demand variables – e.g., disposable U.S. income, an alternative protein index to

         account for consumer demand for pork and chicken, and a weighted exchange rate

         index to account for cattle and beef imports and exports.

       Supply variables – e.g., calf supply, drought-related effects, fed cattle production

         costs, and Mandatory Country of Origin Labeling variables to control for cattle

         imports.

       Lot-specific variables – e.g., cattle weight, heifer and Holstein percentages, yield,

         quality grade, and a foreign-born cattle indicator.

       Other categorical variables – e.g., procurement type, feedyard- and plant-specific

         fixed effects, and seasonality.

Id., ¶¶352-68. Dr. Lamb also controlled for the effects of the Tyson Holcomb fire, which

removed slaughter capacity from the industry. Id., ¶369.151

         Dr. Lamb’s regression also included an indicator variable to measure effects of the

alleged conspiracy itself.       When Dr. Lamb turned this conspiracy variable “on” –

indicating that the conspiracy was in effect – he found a statistically significant, negative

effect on the prices Defendants paid to Producer Class members. Id., ¶¶371-77, Table 14.


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       Dr. Lamb did not include a variable for capacity utilization because doing so would
create a misspecification error and “confound” (hinder) the model’s ability to measure the
effect of the alleged conspiracy. Id., ¶371.


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Specifically, Dr. Lamb’s model shows that but-for the conspiracy Producer Class’s prices

have been about 6.7% higher. Id., Table 14. Courts routinely accept multiple regression

analyses like the one Dr. Lamb uses here to demonstrate the existence of classwide antitrust

injury. See, e.g., Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th

651, 677 (9th Cir. 2022) (en banc), cert denied., Starkist Co. v. Olean Wholesale Grocery

Coop., Inc., 143 S. Ct. 424 (2022) (“In antitrust cases, regression models have been widely

accepted as a generally reliable econometric technique to control for the effects of the

differences among class members and isolate the impact of the alleged antitrust violations

on the prices paid by class members.”); Pork, 665 F. Supp. 3d at 1003–04 (expert’s use of

multiple regression analysis “affirmatively demonstrates that [plaintiffs] can show

common evidence of classwide impact”).

       Second, Dr. Lamb also concluded that there was a pricing structure connecting fed

cattle prices across geographic regions, procurement types (e.g., negotiated cash,

negotiated grid, forward, and formula contracts), and cattle breeds and characteristics.

Lamb Rpt., ¶15(c)(i) –(v). In addition to documents, testimony, and literature pointing to

a pricing structure for fed cattle (id., ¶¶174-87, 381-399), Dr. Lamb also demonstrated it

empirically through correlation analyses for fed cattle prices across: (1) different locations,

demonstrating that prices for fed cattle purchased from different feedyards and by different

Defendants’ plants were highly correlated (id., Figs. 28–31, 41–45, Tables 8, 21); (2)

different procurement types, showing that the prices set by different procurement types

were highly correlated (id., Figs. 33–36, Tables 15–19); (3) different cattle breeds

Defendants’ processed were highly correlated (id., ¶399, Figs. 37–40, Table 20); and (4)


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price deciles at Defendants’ plants, which approximate premiums and discounts for

different cattle characteristics, were highly correlated (id., ¶404, Figs. 45–48, Table 23).

The existence of a pricing structure – reinforced by Defendants’ domination of the fed

cattle market, the lack of fed cattle substitutes, and fed cattle’s commodity nature (id.,

§IV.A-C, ¶¶405–08) – demonstrates that Producer Class members could not avoid the

effects of Defendants’ conspiracy.       See, e.g., Growers, 2024 WL 2117359, at *12

(“[W]here plaintiffs present evidence of standardized pricing structures” in a conspiracy to

suppress prices, “the evidence may support ‘a reasonable conclusion that “price-fixing

would have affected the entire market.”’”); Pork, 665 F. Supp. 3d at 1003 (correlation

analysis “bolsters” regression analysis because it shows that class members “ʻwould not

have been able to avoid the impact of the alleged conspiracy by switching from one

Defendant to another’”); Urethane, 768 F.3d at 1255 (evidence of a price structure whereby

base price served as starting point of price negotiations sufficient to show classwide injury).

       Third, the robustness of Dr. Lamb’s multiple regression model was further

demonstrated through an in-sample prediction to show that all or nearly all Producer Class

members suffered an underpayment on at least one fed cattle transaction. Lamb Rpt.,

¶¶409-13. Dr. Lamb’s in-sample prediction uses his multiple regression analysis to predict

the but-for price that would have been received for each transaction and compares that

against the actual price received. If the actual price received is lower than the but-for price

on a fed cattle transaction, then there is an underpayment on that transaction.




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       Dr. Lamb’s in-sample prediction shows that 98.6% of feedyards during the Class

Period showed at least one transaction with an underpayment. Id., ¶412.152 Courts have

held such results are sufficient to demonstrate classwide injury. Cf. Olean, 31 F.4th at 672

(affirming certification of class where in-sample prediction showed 94.5% of purchasers

were injured on a single transaction); Growers, 2024 WL 2117359, at *19 (certifying class

where in-sample prediction demonstrated that between 95-100% of class members were

injured).

       At bottom, Dr. Lamb’s analyses rely on evidence common to Producer Class

members. And when combined with Dr. Lamb’s separate analyses finding that “ʻthe

structure and characteristics of the [fed cattle] industry made it conducive to the formation

and maintenance of the alleged price-fixing conspiracy,’” Pork, 665 F. Supp. 3d at 1002,153

Dr. Lamb’s econometric analyses demonstrate that common evidence is capable of proving

classwide injury.

                     c.     Producer Class’s Damages Are Capable of Classwide Proof

       Using his multiple regression analyses, Dr. Lamb also estimated the amount of

classwide damages suffered by Plaintiffs and the Producer Class. At class certification,

plaintiffs must show that “damages are capable of measurement on a classwide basis,” but


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       Although feedyards are not always synonymous with the identity of a Producer
Class member, the results are robust. Dr. Lamb further tested his in-sample prediction
against Cargill’s payee data field, which reflects the cattle owner – a field other Defendants
did not provide. Id., ¶413. He found that 95.6% of payees had at least one transaction with
an underpayment. Id.
153
        See Lamb Rpt., §IV (analyzing economic evidence demonstrating that the U.S.
cattle industry was conducive to the formation and operation of the alleged conspiracy).


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they “need not be exact.” Comcast Corp. v. Behrend, 569 U.S. 27, 34–35 (2013). See also

Abbott v. Lockheed Martin Corp., 725 F.3d 803, 808 (7th Cir. 2013) (damages methodology

at class certification is “provisional” and need be “useful only as a mechanism to ensure that

the class meets the requirements of Rule 23” because “the damages measure will likely

become more refined” after certification).

       Thus, “[i]n proving the amount of damage, the antitrust plaintiff need only present

evidence from which the fact finder may make a just and reasonable estimate of the damage

that is not based on speculation or guesswork.” In re Bulk Popcorn Antitrust Litig., 792 F.

Supp. 650, 653 (D. Minn. 1992)) (emphasis in original). “[T]he fact that the damages

calculation may involve individualized analysis is not by itself sufficient to preclude

certification when liability can be determined on a class-wide basis.” In re Potash Antitrust

Litig., 159 F.R.D. 682, 697 (D. Minn. 1995).

       Dr. Lamb estimated the Producer Class damages to be $9.4 billion – a calculation

he made “by multiplying the relevant [underpayment] to the [Defendants’] total [purchase]

amount” from Producer Class members. Pork, 665 F. Supp. 3d at 1008; Lamb Rpt., ¶416,

Table 25. Dr. Lamb’s multiple regression analysis is common to all Producer Class

members, and it is a well-accepted method to calculate damages in antitrust cases. Pork,

665 F. Supp. 3d at 1008 (classwide damages can be estimated through “a multiple

regression analysis”); Urethane, 768 F.3d at 1260–61 (affirming jury award of damages

based on expert’s multiple-regression analysis and damages model).

       Because common evidence can demonstrate classwide damages to the Producer

Class, predominance is satisfied as to damages.


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                     d.     Common Evidence Is Capable of Proving the Exchange
                            Class’s CEA Claims

       Common evidence is also capable of proving the Exchange Class’s CEA claims.

Here, Plaintiffs’ CEA claims arise from Defendants’ conspiracy to suppress fed cattle

prices which caused LCF prices to become artificial.154

       This case is analogous to other CEA class actions, in which courts have certified

futures trader classes, where: (1) plaintiffs demonstrated that defendants manipulated

futures through a common scheme provable through defendants’ own documents; and (2)

plaintiffs’ expert’s econometric modeling was capable of proving that the defendants’

scheme caused classwide injury and damages to futures trader classes. E.g., Ploss, 431 F.

Supp. 3d at 1015–18 (certifying class of wheat futures traders). Exchange Plaintiffs’ CEA

claims are likewise capable of common proof.

       Defendants Possessed the Ability to Influence Prices. Defendants’ ability to

control and influence prices and their intent to cause artificial LCF prices are demonstrated

by: (i) Defendants’ over 80% share of the fed cattle procurement market, which is

indicative of Defendants’ monopsony power (Lamb Rpt., ¶¶191–95, Tables 10–11), (ii)

Defendants’ nearly 100% control of facilities certified by CME for the delivery of cattle

for physically-settled LCF (Rosevear Rpt., n.16; Lamb Rpt., ¶180; cf. MTD Order at 23–

24), and (iii) Dr. Lamb’s analyses showing that Defendants exploited that power by

suppressing fed cattle prices (Lamb Rpt., ¶377, Table 14)


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      There were nine LCFs that listed for trading as of May 29, 2015: the June 2015,
August 2015, October 2015, December 2015, February 2016, April 2016, June 2016,
August 2016, and October 2016 contracts. Rosevear Rpt., ¶18.


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       Artificial Prices for LCFs Existed. As is the case with nearly all futures markets,

there is a formulaic relationship between the price of the futures contract and the underlying

commodity – namely, the futures price is equal to the spot price plus the “cost of carry,”

which reflects costs borne by the holder of the contract, such as storage and financing costs.

Rosevear Rpt., ¶¶28–34.

       To demonstrate the pricing relationship between these markets, Ms. Rosevear

analyzed the prices for fed cattle and LCF and found that the fed cattle prices closely

tracked LCF prices. Specifically, Ms. Rosevear applied the well-accepted, peer-reviewed

cost-of-carry model, which formulaically explains the relationship between futures and

spot prices. Id., ¶¶39–40. Figure 2 from Ms. Rosevear’s report shows the “near perfect

positive correlation” between fed cattle prices and LCF prices.155




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      See also Rosevear Rpt., Fig. 3 (showing correlation of 0.96 between June 1, 2015 –
October 31, 2016, where perfect correlation is 1.0).


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Figure 4. Rosevear Figure 2: Actual Futures and Spot Prices




       Then, to estimate the effect of Defendants’ price-suppression in the fed cattle

market, Ms. Rosevear uses two variants of the cost-of-carry model – a fixed-cost model

and a variable cost model.      Ms. Rosevear incorporates Dr. Lamb’s underpayment

regression by substituting the actual fed cattle prices with Dr. Lamb’s but-for fed cattle

price into her model. Id., ¶¶48–66. Regardless of whether Ms. Rosevear used the fixed-

cost or variable cost model, the resulting substitution shows that LCF prices were

artificially suppressed by at least 6.6% for each LCF contract. Id., ¶¶53, 58, Rosevear Exs.

1–2.




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       Defendants Caused Price Artificiality for LCF and Intended to Do So. As

discussed above, Defendants possessed and wielded their dominant position in the U.S. fed

cattle procurement market to suppress prices for fed cattle. Moreover, Ms. Rosevear’s

analyses demonstrate the well-recognized relationship between fed cattle and LCF prices

and show that changes in fed cattle prices resulted in corresponding price changes in LCF.

       Actual Damages Can Be Calculated on Classwide Basis. Ms. Rosevear also offers

a common methodology that is capable of measuring classwide damages to the Exchange

Class. As explained above, Ms. Rosevear’s model found that LCF were suppressed by at

least 6.6%. Here, Ms. Rosevear calculated classwide damages using a formulaic approach

that can be applied to individual class member transactions. The two key inputs to the

common methodology are: (i) the estimate of price artificiality in each LCF traded, and (ii)

each class member’s LCF transactions. Using the centralized records obtained from the

CME and the price artificialities contained within Dr. Lamb’s regression analyses, Ms.

Rosevear calculated the amount of “artificiality” imparted to the Exchange Class as a whole

and to for each LCF transaction by every market participant. Id., ¶¶62-68, Rosevear Exs.

3–4. She ultimately concludes that Defendants’ misconduct caused at least $1.07 billion in

losses for Exchange Class members. Id., Figs. 7–8.




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       C.     A Class Action Is the Superior Method for Adjudicating the Claims in
              this Action

       Under Rule 23(b)(3), certification is warranted if a classwide trial is “superior to

other available methods for fairly and efficiently adjudicating the controversy.” See Fed.

R. Civ. P. 23(b)(3).

       Class adjudication is more efficient than any other procedure available for resolving

the relevant factual and legal issues here. See Messner, 669 F.3d at 814 n.5 (“There are so

many common issues of law and fact relating to the issue of … liability, however, that the

superiority requirement likely poses no serious obstacle to class certification here.”).

       The class mechanism is also superior to individual actions. Given the time and

expense of litigating an antitrust and CEA dispute, most class members would not get their

day in court if forced to pursue their actions individually because the expense required to

do so would vastly exceed the value of individual Class members’ recovery. Pork, 665 F.

Supp. 3d at 1009. Indeed, no members of the Producer or Exchange Classes have filed

their own individual actions in this MDL, illustrating the significant disincentives to litigate

these claims on an individual basis. See In re Remicade Antitrust Litig., No. 17-CV-04326,

2023 WL 2530418, at *13 (E.D. Pa. Mar. 15, 2023) (“The lack of opt-outs illustrates the

superiority of adjudicating this controversy through a class action.”). Accordingly,

certifying the proposed Classes will promote judicial economy and uniformity of decision.

       Finally, there are no manageability issues that would preclude an efficient trial in

this matter. As this Court recently concluded, even where “there are hundreds of millions

of potential class members,” the “superiority requirement is readily satisfied” because



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“managing a class action—though difficult—is certainly more efficient than juggling a

multitude of individual actions,” particularly where, as here, this Court has “controlled this

litigation for five years.” Pork, 665 F. Supp. 3d at 1009. Thus, Rule 23(b)(3) superiority

is satisfied here.

       D.      The Producer and Exchange Classes are Ascertainable

       A class “must be adequately defined and clearly ascertainable.” Sandusky Wellness

Ctr., LLC v. Medtox Sci., Inc., 821 F.3d 992, 995 (8th Cir. 2016). The Eighth Circuit does

not impose an “administrative feasibility” requirement. Id. Moreover, “[a]scertainability

does not require that a plaintiff must be able to identify all class members at the time of class

certification; rather, a plaintiff need only show that class members can be identified.” H &

T Fair Hills, Ltd. v. All. Pipeline L.P., No. 19-CV-1095 (JNE/BRT), 2021 WL 2526737, at

*5 (D. Minn. June 21, 2021).

       Each Class is defined by “objective criteria,” which is all that is required. McKeage

v. TMBC, LLC, 847 F.3d 992, 998 (8th Cir. 2017). Producer Class membership is

established by a direct sale of fed cattle to a Defendant during the Class Period;

membership can be ascertained either through records from Defendants, feedyards, or class

members themselves. Exchange Class membership is established by possessing a long

position at the start of the Class Period and closing out that position at any point prior

November 1, 2016; membership can be ascertained from information and records from the

CME, futures commission merchants, introducing brokers, or the class members

themselves.




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       E.      Certification under Rule 23(b)(2) of the Injunctive Relief Class is
               Appropriate

       Plaintiffs also seek to certify the proposed Injunctive Relief Class under Rule 23(b)(2).

“If the Rule 23(a) requirements are met and the Plaintiffs seek injunctive or declaratory relief,

certification under Rule 23(b)(2) is generally appropriate.” Pork, 665 F. Supp. 3d at 1010.

As noted above, numerosity and commonality are readily satisfied here. See Section

III.A.1–2, supra. The organizational plaintiffs R-CALF and NFU are also typical and

adequate class representatives, as demonstrated by their vigor and dedication in pursuing

this suit for more than five years. Ex. 222, Bullard (R-CALF) Decl., ¶¶8-11; Ex. 223,

Larew (NFU) Decl., ¶¶9-11.156

       Certification under Rule 23(b)(2) has “a substantially lower bar to surpass than Rule

23(b)(3)” because it does not require showing predominance of common questions of law or

fact. Pork, 665 F. Supp. 3d at 1010. Rather, it requires Plaintiffs to show that Defendant “has

acted or refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R.

Civ. P. 23(b)(2).




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        Defendants did not challenge R-CALF’s and NFU’s standing to seek injunctive or
declarative relief at the Rule 12(b)(6) stage, and the Court previously observed that both
plaintiffs are “entitled” to “pursue injunctive and declaratory relief” under 15 U.S.C. §26.
MTD Order at 22 n.13. In addition, courts have held that “Rule 23 permits an association,
the members of which fall within the definition of the proposed class, to serve as a class
representative.” Med. Soc'y of the State of New York v. UnitedHealth Grp. Inc., 332 F.R.D.
138, 151–52 (S.D.N.Y. 2019). R-CALF and NFU members are named plaintiffs and class
members who sold fed cattle to Defendants, and accordingly, both have standing and are
adequate representatives. See Ex. 222, Bullard Decl., ¶7; Ex. 223, Larew Decl., ¶8.

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       Here, Plaintiffs allege that Defendants engaged in an anticompetitive conspiracy that

affected all or nearly all Injunctive Relief Class members. Moreover, the structure and nature

of the cattle industry – e.g., commodity nature of fed cattle, the high level of concentration,

Defendants’ overwhelming market share, etc. – remain unchanged since the end of the Class

Period and make the prospects of future collusion a significant threat. See Lamb Rpt., n.652.

The requested injunctive relief would put a halt to Defendants’ antitrust violations and enjoin

future anticompetitive conduct – an important component of the relief sought by all

Plaintiffs. See, e.g., In re Korean Ramen Antitrust Litig., No. 13-CV-04115, 2017 WL

235052, at *18–19 (N.D. Cal. Jan. 19, 2017) (“In light of the evidence of continuing market

power of defendants and concentration in the market, certification of the injunctive relief

claims under Rule 23(b)(2) is appropriate.”); In re NASDAQ Mkt.-Makers Antitrust Litig., 169

F.R.D. 493, 515 (S.D.N.Y. 1996) (certifying injunctive and damage classes “ʻwhere injunctive

relief and damages are both important components of the relief requested’”). Thus,

certification of the Injunctive Relief Class is appropriate.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion should be granted.



Dated: September 25, 2024                    Respectfully submitted,

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